  Case 3:24-cv-00404-MCR-ZCB        Document 21-1    Filed 06/05/25   Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

                                           CASE NO.: 3:24-cv-00404-MCR-ZCB

NICHOLAS FORD and
ALONZO HAWKINS,

      Plaintiffs,

v.

SOUTHERN ROAD & BRIDGE,
LLC,

     Defendant.
_______________________________/

DEFENDANT’S NOTICE OF FILING OF DOCUMENTS IN SUPPORT OF
            MOTION FOR SUMMARY JUDGMENT

      Defendant, SOUTHERN ROAD & BRIDGE, LLC (“Defendant” or “SRB”)

by and through its undersigned counsel, hereby files the following documents in

support of Defendant’s Motion for Summary Judgment:

      Exhibit 1      Deposition of Nicholas Ford

      Exhibit 2      Deposition of Alonzo Hawkins

      Exhibit 3      Deposition of George Pappas

      Exhibit 4      Deposition of Esequiel Ruiz

      Exhibit 5      Declaration of Ryan Witt with Exhibits A to K

      Exhibit A      to Ryan Witt’s Declaration - SRB Employee Handbook


                                       Page 1
Case 3:24-cv-00404-MCR-ZCB       Document 21-1   Filed 06/05/25   Page 2 of 4

                                            Case No. 3:24-cv-00404-MCR-ZCB

   Exhibit B   to Ryan Witt’s Declaration - Combined signed EEO Policy

               Statement

   Exhibit C   to Ryan Witt’s Declaration - Page 47 of Employee Handbook

   Exhibit D   to Ryan Witt’s Declaration - Text exchange between Mr. Witt

               and Hawkins

   Exhibit E   to Ryan Witt’s Declaration - Mr. Witt’s text to Hawkins to

               contact Christina

   Exhibit F   to Ryan Witt’s Declaration - Hawkins’ Pay and Time Records

   Exhibit G   to Ryan Witt’s Declaration - Ford’s Pay and Time Records

   Exhibit H   to Ryan Witt’s Declaration - Hawkins’ Termination Form

   Exhibit I   to Ryan Witt’s Declaration - Ford’s Termination Form

   Exhibit J   to Ryan Witt’s Declaration - Text exchange between Mr. Pappas

               and Ford

   Exhibit K   to Ryan Witt’s Declaration - Ford’s July Termination Form

   Exhibit 6   Nicholas Ford’s Responses to Defendant’s First Set of

               Interrogatories

   Exhibit 7   Alonzo Hawkins’ Responses to Defendant’s First Set of

               Interrogatories

   Exhibit 8   Nicholas Ford’s New Hire Packet

   Exhibit 9   Alonzo Hawkins’ New Hire Packet

                                   Page 2
Case 3:24-cv-00404-MCR-ZCB      Document 21-1     Filed 06/05/25   Page 3 of 4

                                            Case No. 3:24-cv-00404-MCR-ZCB

   Exhibit 10 Attestation of No Records



   Respectfully submitted this 5th day of June, 2025.




                                 By: /s/ Brian D. Rubenstein
                                     BRIAN D. RUBENSTEIN
                                     Florida Bar No.: 16997
                                     CHARLOTTE MARIE A. MANAPAT-
                                     NGUYEN
                                     Florida Bar No.: 1058130


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            [CERTIFICATE OF SERVICE ON NEXT PAGE]




                                   Page 3
  Case 3:24-cv-00404-MCR-ZCB       Document 21-1    Filed 06/05/25   Page 4 of 4

                                              Case No. 3:24-cv-00404-MCR-ZCB

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 5th day of June, 2025, a true and correct

copy of the foregoing has been furnished by electronic filing with the Clerk of the

court via CM/ECF, which will send notice of electronic filing to all counsel of

record.

                                    Respectfully submitted,



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                                     Page 4
